      Case 4:21-cr-00009 Document 240 Filed on 01/07/22 in TXSD Page 1 of 3




                            UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION


                                                §
UNITED STATES OF AMERICA,
                                                §
          Plaintiff,                            §
     v.                                         §
                                                § Cr. No. 4:21cr 009 GCH

ROBERT T. BROCKMAN,                             §
                                                §

          Defendant.                            §
                                                §
                                                §



          UNOPPOSED DISCOVERY PROTOCOL AS TO OUTSTANDING TAMINE
                                MATERIALS

          Defendant ROBERT T. BROCKMAN, through counsel, having requested the production

of material that may contain privileged information, specifically a box of unfiltered material

described below, and the Court having ordered the production of said discovery, the parties

agree to the following protocol.

1.        This Protocol relates to hardcopy files obtained by the United States via a voluntary

          production from Evatt Tamine to the IRS on or around October 22, 2018 (the

          “Materials”). The Materials is a single box containing items described as follows:

               Blue paper folder containing documents

               Brown “Leatheroid” branded wallet containing documents

               Two (2) clear plastic folders containing documents

 DISCOVERY PROTOCOL                                 1
 Case No. 4:21-cr-009 GCH
     Case 4:21-cr-00009 Document 240 Filed on 01/07/22 in TXSD Page 2 of 3




              Two (2) FedEx envelopes containing documents

              Light green paper folder containing documents

              Dark green paper folder containing documents

              Olive green paper folder containing documents

The United States will provide to Defendant in a useable format a copy of any paper and

electronic records included in the Materials.

2.      The United States represents that the Materials were produced by Evatt Tamine,

        Individual-1 in the Indictment, to the government on or around October 22, 2018.

3.      The United States further represents that the Materials were segregated and held by an

        IRS filter agent who is not otherwise involved or associated with any of the investigations

        related to this case. The Materials, which were in documentary or hardcopy form, were

        scanned by the filter agent into an electronic format.

4.      On October 25, 2021, Michael Padula, counsel for Tamine, reviewed the Materials and

        represented to the prosecution team that the Materials contained a small amount of

        potentially privileged materials. The prosecution team has not reviewed the Materials to

        evaluate this claim.

5.      As ordered by the Court, the government, through the filter agent, will produce the

        Materials to Defendant. Production of the Materials does not constitute a waiver of any

        attorney-client privilege or work product protection that may attach to any of the

        materials or information contained within the Materials.

6.      Given that the Materials may contain privileged information, Defendant’s counsel agrees

        to carefully consider whether any of the unfiltered material they or their client reviews is

DISCOVERY PROTOCOL                              2
Case No. 4:21-cr-009 GCH
     Case 4:21-cr-00009 Document 240 Filed on 01/07/22 in TXSD Page 3 of 3




        subject to any evidentiary privilege, including to an attorney-client or work product

        privilege held by a third party. Upon discovery of any item in the Materials that may be

        subject to an evidentiary privilege, Defendant, and his counsel, agree to cease reviewing

        that item and notify the filter agent of the item(s).

7.      While Defendant will be receiving the Materials, the prosecution team will not be

        receiving these materials. Accordingly, Defendant and his counsel, upon review of the

        Materials that relate to Defendant, agree to provide the prosecution team with a privilege

        log containing a list of the items over which Defendant is asserting his own attorney-

        client or work-product privileges.

8.      Defendant and his counsel further agree to provide a copy of any of the Materials they

        intend to introduce as evidence in their case in chief at trial to the prosecution team.

9.      We hereby consent to this Protocol and entry of an Order by the Court to incorporate its

        terms, if necessary.

Dated: January 7, 2022

DAVID A. HUBBERT                  /s Jason Varnado
DEPUTY ASSISTANT ATTORNEY GENERAL JASON S. VARNADO
                                  TX Bar No. 24034722
/s Corey J. Smith                 SDTX Ad. ID No. 32166
COREY J. SMITH                    jvarnado@jonesday.com
Senior Litigation Counsel         832-239-3939 (v)
Mass Bar No. 553615
corey.smith@usdoj.gov             Attorney for Robert T. Brockman
202-514-5230 (v)

Attorney for the United States of America




DISCOVERY PROTOCOL                               3
Case No. 4:21-cr-009 GCH
